                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             ________________
                             SOUTHERN              DIVISION
                                No. ________________
                                    7:23-cv-00139-BO



___________________________,
Roy Neely                                    )
                                             )
                         Plaintiff,          )
                                             )        MOTION FOR ADMISSION
                  v.                         )          PRO HAC VICE
United States of America                     )          and AFFIDAVIT
___________________________,                 )
                                             )
                         Defendant.          )


       __________________________
       C. Arthur Rutter, III      (“Local Counsel”), a member in good standing with the

Bar of the United States District Court for the Eastern District of North Carolina (“EDNC”), moves

for the admission of _____________________
                     Tor A. Hoerman        (“Applicant”), who seeks permission to represent

_______________________________________________________________
Roy Neely                                                       (“Client”) in this

above-captioned Camp LeJeune Justice Act case.

       By signing this motion, Local Counsel and Applicant certify that:

       1.      Applicant is a member in good standing of the bar of the highest court of the State

or Territory where Applicant regularly practices law, which is ___________________.
                                                                Illinois

       2.      Applicant practices under the name of or as a member of the following firm:

Firm name: ____________________________________________________________________
            TorHoerman Law LLC

Mailing Address: _______________________________________________________________
                  210 S. Main Street

City / State / Zip: _______________________________________________________________
                     Edwardsville, IL 62025

Telephone Number: _______________________
                  618-656-4400            Facsimile Number: ______________________
                                                            618-656-4401

Email Address (required): ________________________________________________________
                           tor@thlawyer.com




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3.      Applicant certifies that s/he is also admitted to practice before and remains in good standing

with the Courts in the following jurisdictions: ________________________________________
                                                 Missouri (MO No. 61566); Southern District of Illinois;

______________________________________________________________________________
Northern District of Illinois

______________________________________________________________________________

        4.     Applicant certifies s/he has never been the subject of any formal suspension or

disbarment proceedings; never been denied admission pro hac vice in this or any other jurisdiction

or had pro hac vice admission revoked; never had any certificate or privilege to appear and practice

before any judicial or administrative body suspended or revoked; and never received public

discipline by any court or lawyer regulatory organization. If Applicant cannot so certify, Applicant

must attach a separate explanation including particular information disclosing the disciplinary

history or denial of admission.

        5.    Applicant certifies that the client requested Applicant to represent s/he in this matter,

along with Local Counsel.

        6.     Applicant agrees to be subject to the Orders of the EDNC, including the Local Rules

of the EDNC, and amenable to the disciplinary action of the civil jurisdiction of the EDNC in all

respects as if Applicant were a regularly admitted and licensed member of the Bar of this court.

        7.      Local Counsel is satisfied that Applicant is qualified to practice before the Bar of

the EDNC.

        8.      The required $100 fee for admission pro hac vice in this case is being submitted

with the filing of this motion.

        9.      Applicant consents to electronic notification and is a registered CM/ECF filer in

the EDNC or will submit an Electronic Filing Attorney Registration Form within seven days if this

motion is granted.



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        By signing this Motion, we so certify.



        This, the ________
                   23rd    day of ___________________,
                                  May                  20__.
                                                         23




        ______________________________
        /s/ C. Arthur Rutter, III                           ______________________________
        Local Counsel                                       Applicant


Attorney Name:        C. Arthur "Brother" Rutter, III
Bar Number:          NC  Bar No. 20969

Firm Name:           Rutter Mills LLP
Firm Address:        160 West Brambleton Avenue
Firm City/State/Zip: Norfolk, VA 23510
Telephone Number: 757-622-5000
Fax Number:
Email Address:       brutter@ruttermills.com




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